     Case 3:15-cr-00012-REP Document 171 Filed 04/14/16 Page 1 of 5 PageID# 914

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                      IN THE UNITED STATES DISTRICT COURT                                                               ''
                     FOR THE EASTERN DISTRICT OF VIRGINIA                                    R I 4 20!6                )ii
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UNITED STATES OF AMERICA

v.                                                           Criminal No. 3:15cr12

JOHN POLHILL

       Defendant.


                                   MEMORANDUM OPINION

       This matter is before the Court on DEFENDANT JOHN POLHILL'S

MOTION TO WITHDRAW GUILTY PLEA (Docket No. 160)                                 ("Polhill Mtn.")

For the reasons set forth below, the motion will be denied.

       On   January       20,     2015,          a    federal        grand    jury    returned         an

indictment charging Defendant John Polhill                              ("Pol hi 11") with bank

robbery     in   violation         of       18       U.S.C.      §    2113(a)       (Count     1)    and

Discharge of a Firearm in Furtherance of a Crime of Violence in

violation of 18 U.S.C. § 924 (c)                        (Count 2).      (Polhill Mtn. 2). The

bank    robbery is        alleged as              the   underlying          "crime of violence"

required for the§ 924(c) charge.                             Id. On March 24,        2015,     Polhill

pled    guilty       to   Counts        1    and        2,     and    the    case    was      set     for

sentencing on July 2, 2015. Id.

       After     Polhill        pled,       but      prior     to    sentencing,       the     Supreme

Court of the United States decided United States v. Johnson,                                          576

U.S.           135   S.Ct.       2551       (2015),          which   held    that     the     residual

clause of the Armed Career Criminal Act,                              18 U.S. C. §         924 ( e) ( 2) ,
     Case 3:15-cr-00012-REP Document 171 Filed 04/14/16 Page 2 of 5 PageID# 915



is     unconstitutionally                   vague.     Polhill            subsequently          filed        this

motion to withdraw,                     arguing,     in essence,                 that   (1)    the residual

clause        of    §      924(c)        is     unconstitutionally                 vague       in    light     of

Johnson and              ( 2)    armed robbery is not categorically a                                crime of

violence under the                    force      clause of §              924 (c),      such    that he is

legally innocent on Count 2.                         ( Pohill Mtn.               1) . The United States

opposed            the          motion.          (United           States'          Response          Opposing

Defendant's             Motion        to       Withdraw       Guilty         Plea,      Docket       No.     164)

("Gov't's Opp.u).

        The parties agree that defendants do not have an absolute

right to withdraw a guilty plea before sentencing.                                            (Polhill Mtn.

3)     {relying on United States v.                            Moore,       931     F.2d 235,         248    (4th

Cir.    1991}}. A defendant must establish a                                      fair and just reason

to withdraw his guilty plea based on certain enumerated factors:

(1)     the    knowing            and      voluntary          nature       of     the   plea,        (2)    legal

innocence,           (3)        delay between entering the plea and                                 filing    the

motion to withdraw,                     ( 4)    close assistance of competent counsel,

( 5)   prejudice            to the         government,             and    ( 6)    inconvenience to the

court and waste of judicial resources.                                     Moore,       931 F. 2d at 24 8.

The parties devoted their briefing page space almost exclusively

to     the    "legal            innocenceu        factor,           and     the     Court      concurs       that

legal        innocence           is     dispositive           in    the     Moore       analysis       in    this

case.

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  Case 3:15-cr-00012-REP Document 171 Filed 04/14/16 Page 3 of 5 PageID# 916




        To credibly assert legal innocence under                            §   924(c},            Polhill

must establish that he is legally innocent under both of the two

definitions          of   "crime      of   violence"      applicable            to       §     924 ( c} .    §

924(c) provides that

               any person who, during and in relation to
               any crime of violence ... uses or carries a
               firearm, or who, in furtherance of any such
               crime,   possesses  a   firearm,   shall,   in
               addition to the punishment provided for such
               crime of violence or drug trafficking crime

shall     be    subject        to   an     additional        prison     term             depending          on

whether the firearm was possessed, brandished, or discharged. 18

U. S.C.    924 (c} (1).       Thus,      to prove a violation of                     §       924 (c),       the

Government           must     prove        ( 1)    that      the    defendant                 possessed,

brandished,          or     discharged       a    firearm,    and     (2}       that          he   did       so

during and in relation to a crime of violence. United States v.

Jenkins,       No.    15-4135,      2015 WL 6121552, at *1              (4th Cir. Oct. 19,

2015)     (citing United States v. Strayhorn, 743 F.3d 917, 922                                          (4th

Cir. 2014)). Under the statute,

               the  term "crime of violence"                          means              an
               offense that is a felony and -

                          (A}   has  as   an   element  the use,
                          attempted use,   or threatened use of
                          physical force against the person or
                          property of another, or

                          (B)  that by its nature,    involves a
                          substantial risk that physical force
                          against   the  person   or property of
                          another may be used in the course of
                          committing the offense.
                                                   3
     Case 3:15-cr-00012-REP Document 171 Filed 04/14/16 Page 4 of 5 PageID# 917




18    U.S.C.        §     924 (c) (3).    Section          924 (c) (3) (A)           is     colloquially

referred        to       as     the    "force        clause"          and      §     924(c} (3} (B)            is

colloquially referred to as the "residual clause."

        Polhill          pled    guilty       to    bank        robbery        under        18       U.S.C.     §

2113(a).       To        credibly      assert       legal        innocence          under        §     924(c),

Polhill      must        establish       that       neither       the     force       clause          nor     the

residual clause of§ 924{c) (3) is applicable to bank robbery.

        After           Polhill's      motion        became           ripe,        but      before          oral

argument,       the       Court       became       aware       that    the     Fourth        Circuit          was

considering the question of whether armed robbery categorically

qualifies as a crime of violence.                              United States v.              McNeal,          No.

14-4871,       2016 WL 1178823             (4th Cir.            Mar.     28,       2016).    Recognizing

that    the     Fourth          Circuit's       opinion         was     likely        to     resolve          the

issue of whether the robbery committed by Polhill would qualify

as a crime of violence under the force clause,                                       the Court stayed

this motion pending the decision in McNeal.                                        (Order,       Docket No.

170).    The Fourth Circuit's recent decision in that case stated

clearly that             bank    robbery       under       §    2113 (a)       is     categorically             a

crime of violence within the meaning of the force                                            clause of §

924 (c) (3). McNeal, 2016 WL 1178823, at *8, 13.

        Because McNeal establishes that                          §     2113 (a)      is categorically

a    crime    of        violence      under     §    924 (c),         Polhill        cannot          establish


                                                      4
  Case 3:15-cr-00012-REP Document 171 Filed 04/14/16 Page 5 of 5 PageID# 918




legal innocence,       and cannot establish a                "fair and just" reason

to withdraw his guilty plea.

        The   other Moore    factors       counsel      in    favor     of    that   result

because Polhill' s      plea of guilty was              knowingly and voluntarily

made,     and   because     Moore    was        closely      assisted        by   competent

counsel.      The   other Moore     factors       are   of no significance given

that    Polhill' s motion was predicated on his assertion of legal

innocence.

        For the above reasons I        DEFENDANT JOHN           POLHILL' s MOTION TO

WITHDRAW GUILTY PLEA {Docket No. 160} will be denied.



        It is so ORDERED.



                                                  /s/
                                Robert E. Payne
                                Senior United States District Judge


Richmond, Virginia
Date: April t:)_., 2016




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